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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

     NETLIST, INC.,                           )
                                              )
                 Plaintiff,                   )
                                              )   Case No. 2:22-cv-293-JRG
           vs.                                )
                                              )   JURY TRIAL DEMANDED
     SAMSUNG ELECTRONICS CO, LTD;             )   (Lead Case)
     SAMSUNG ELECTRONICS AMERICA,             )
     INC.; SAMSUNG SEMICONDUCTOR              )
     INC.,                                    )
                                              )
                 Defendants.                  )

     NETLIST, INC.,                           )
                                              )
                 Plaintiff,                   )
                                              )
                                                  Case No. 2:22-cv-294-JRG
           vs.                                )
                                              )
                                                  JURY TRIAL DEMANDED
     MICRON TECHNOLOGY, INC.;                 )
     MICRON SEMICONDUCTOR                     )
     PRODUCTS, INC.; MICRON                   )
     TECHNOLOGY TEXAS LLC,                    )
                                              )
                 Defendants.                  )

      PLAINTIFF NETLIST, INC.’S REPLY IN SUPPORT OF MOTION FOR LEAVE
     TO FILE ITS SECOND AMENDED COMPLAINT AGAINST SAMSUNG (DKT. 62)
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     I.      The Rule Against Claim Splitting Does Not Prevent Netlist’s Leave to Amend

             Under the controlling Federal Circuit law, a claim splitting analysis “requires comparing

     the patents’ claims.” SimpleAir, Inc. v. Google LLC, 884 F.3d 1160, 1167–68 (Fed. Cir. 2018). In

     Simple Air, the Federal Circuit held that: “a court may not presume that assertions of a parent

     patent and a terminally-disclaimed continuation patent against the same product constitute the

     same cause of action. Rather, the claim preclusion analysis requires comparing the patents’ claims

     along with other relevant transactional facts.” 884 F.3d at 1167–68. Samsung—the party asserting

     claim splitting—bears the burden of proof. See Oyster Optics, LLC v. Cisco Sys., Inc., 2021 WL

     1530935, at *4 (E.D. Tex. Apr. 16, 2021) (finding Cisco “has not met its burden to prove that the

     claims of the ’516 Patent are essentially the same as those of any of the previously litigated

     claims”); Davis-Lynch, Inc. v. Hilcorp Energy Co., 2009 WL 10659687, at *2 (E.D. Tex. Nov. 18,

     2009), adopted, 2010 WL 11553311 (E.D. Tex. Jan. 4, 2010). Samsung has failed to do so.

             First, Samsung’s claim splitting argument is procedurally inappropriate. Samsung’s

     proposed approach would require this Court to conduct claim construction at an early stage of

     this case where Netlist simply moves for leave to amend. Neither Netlist nor Samsung has briefed

     the claim construction issues of the ’608 patent in this case, and this Court has not held a Markman

     hearing. Tellingly, Samsung did not identify any cases where the court denied motion for leave to

     amend based on claim splitting, which is an issue that is typically decided after claim construction.

     See, e.g., UCB, Inc. v. Accord Healthcare, Inc., 890 F.3d 1313, 1323 (Fed. Cir. 2018), cert. denied, Accord

     Healthcare, Inc. v. UCB, Inc., 139 S. Ct. 574, 574 (2018) (holding a court must first construe the

     claims “and determine[] the differences” between them before it can determine “whether those

     differences render the claims patentably distinct”). In Oyster Optics, this Court clearly explained:

     “It is a contested issue of fact whether the scope of the asserted claims of the ’516 Patent are

     essentially the same as any other patent claims. Once the Court has construed the claims, [the

     accused infringer] may present evidence to the jury—e.g., evidence that the claims are patentably

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     indistinct from others—to prove its assertion that the claims are essentially the same as other

     claims previously litigated.” 2021 WL 1530935, at *4; see also Arsus, LLC v. Tesla, Inc., 2022 WL

     7145485, at *2 (W.D. Tex. Oct. 12, 2022) (finding the defendant’s motion to dismiss based on

     claim preclusion as “premature and inappropriate” because “the Court would need to construe

     the claims in this case before it could even compare their scope against that of the claims asserted

     [in the prior action]”); cf. In re PersonalWeb. Tech LLC, 961 F.3d 1365 (Fed. Cir. 2020) (discussing

     preclusion issue on summary judgment).

             Second, Samsung failed to provide the required claim-by-claim comparison of the two

     different patents. See generally Dkt. 69 (Opp.). Instead, Samsung focused its argument on the facts

     that Netlist filed a terminal disclaimer in the prosecution of the ’506 patent to overcome a double-

     patenting rejection over the ’608 patent, and that the ’608 and ’506 patents belong to the same

     patent family, share specifications, and are asserted against the same products. See Dkt. 69 at 7-8.

     But the Federal Circuit has explicitly held that these facts are insufficient for raising a claim

     splitting objection. See SimpleAir, 884 F.3d at 1166 (vacating the district court’s decision because

     sharing a common specification and filing a terminal disclaimer are “not sufficient to sustain the

     district court’s holding of claim preclusion”); see also XY, LLC v. Trans Ova Genetics, LC, 968 F.3d

     1323, 1333-35 (Fed. Cir. 2020) (vacating the dismissal of infringement claims based on claim

     preclusion because the district court had “fail[ed] to compare the scope of the patent claims”

     even though the accused products are the same in both lawsuits between the parties).

             Third, Samsung’s bare conclusory assertion that the two patents only have “minor

     differences” that “do not alter the facts implicated by Netlist’s claims for infringement” (Dkt. 69

     at 8) does not carry Samsung’s burden to show that the ’506 and ’608 patents have essentially

     identical claims. To the contrary, the claims of the two patents disclose different aspects of

     memory technologies and require different infringement analysis as to the accused products.

             By way of example, the ’608 patent addresses the receipt and output of a “module clock

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     signal” and teaches the delay of data on the data path, which are not discussed in the ’506 patent.

     Elements 1b, 1c, 1d1 and 1d2 of the ’608 patent claim 1 provide:

             (1b) a module control device mounted on the module board . . ., the module control
             device being further configured to receive a system clock signal and output a
             module clock signal; and
             (1c) memory devices mounted on the module board and configured to receive the module
             command signals and the module clock signal, and to perform the memory operations
             in response to the module command signals . . . .
             (1d1) a plurality of buffer circuits corresponding to respective sets of the plurality of sets
             of data/strobe signal lines, wherein each respective buffer circuit of the plurality of buffer
             circuits is mounted on the module board, coupled between a respective set of data/strobe
             signal lines and a respective set of memory devices, and configured to receive the
             module control signals and the module clock signal,
             (1d2) the each respective buffer circuit including a data path corresponding to each data signal
             line in the respective set of data/strobe signal lines, and a command processing circuit
             configured to decode the module control signals and to control the data path in accordance with
             the module control signals and the module clock signal
             (1d3) wherein the data path corresponding to the each data signal line includes at least one tristate
             buffer controlled by the command processing circuit and a delay circuit configured to
             delay a signal through the data path by an amount determined by the command processing circuit in
             response to at least one of the module control signals.
     Dkt. 62-4 at 44 (’608 patent, cl.1); see also Ex. 1 (’608 PICs) (emphasis added). These aspects are

     not recited in the claims of the ’506 patent. See Ex. 3 (chart comparing the dependent claims of

     the ’608 patent and ’506 patent asserted by Netlist). In contrast, the ’506 patent teaches the delay

     of a “read strobe” by a data buffer for sampling read data in accordance with a predetermined

     amount. Elements 1h-1l of claim 1 of the ’506 patent provide:

             (1h) wherein a first data buffer of the data buffers is coupled to the first memory device and is
             configurable to, in response to one or more of the module control signals
             (1i) delay the first read strobe by a first predetermined amount to generate a first
             delayed read strobe
             (1j) sample the first section of the read data using the first delayed read strobe;
             (1k) transmit the first section of the read data to a first section of the data bus; [and]
             (1l) wherein the first predetermined amount is determined based at least on signals
             received by the first data buffer during one or more previous operations

     Dkt. 69-3 at 42 (cl. 1 of the ’506 patent); see also Ex. 2 (Netlist’s PICs of the ’506 patent). These



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     elements, however, are not recited by the claims of the ’608 patent. See Exs. 1-3. Samsung does

     not contend a read strobe and a memory module’s clock signal are the same; they are not—a read

     strobe is related to capturing data signals specifically (which is not transmitted on data signal

     lines), whereas a clock signal is related to the overall timing and regulation of all signaling on the

     module. See Ex. 5 (Mangione-Smith Decl.) ¶ 28. As in Oyster Optics, there is “a contested issue of

     fact whether the scope of the asserted claims of the [’608 and ’506 patents] are essentially the

     same” that requires claim construction and jury decision. 2021 WL 1530935, at *4.

             Samsung’s cited cases are inapposite. For example, Mars Inc. v. Nippon Conlux Kabushiki-

     Kaisha involved a patentee that brought infringement claims of the same patent in separate

     proceedings. 58 F.3d 616, 618 (Fed. Cir. 1995) (summary judgment decision). And Gillig v. Nike

     Inc. did not address the similarity or difference of two patents in the same family but instead found

     res judicata barred the plaintiff from raising a claim based on a purported assignment of trade

     secrets rights in 2000 where the earlier court had found “that there was no assignment of rights

     in 2000.” 602 F.3d 1354 (Fed. Cir. 2010). Here, Netlist’s patent infringement claims under the ’608

     patent are not based on the same operative facts because the infringing features of Samsung’s

     products are different in this Action than those in Samsung I.

     II.     Netlist’s Motion for Leave to Amend Would Not Circumvent this Court’s
             Evidentiary Ruling in the Separate Action

             Samsung’s allegation that Netlist moved to add the ’608 patent to bypass this Court’s

     ruling in Samsung I is simply false. First, on December 23, 2021, Micron filed a petition for IPR

     against the ’608 patent. IPR2022-237. Shortly after the USPTO denied the IPR petition on

     September 16, 2022, Id. (paper 17), Netlist conducted an investigation of Samsung’s activities as

     to the ’608 patent, determined there was infringement, and promptly notified Samsung that it

     intended to seek leave to add the patent to this case on December 27, 2022. Dkt. 62-5.; see also

     Sheasby Decl. ¶ 3. While receiving Netlist’s draft motion for leave to amend the complaint to


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     assert the ’608 patent in December 2022, Samsung did not confirm it would be opposing Netlist’s

     motion until January 12. Netlist promptly finalized and filed the motion one week later. Dkt.62.

     Thus, the record shows that the timing of Netlist’s filing of this motion was not related to the

     Court’s previous order.

             Second, during the January 19, 2023 hearing, this Court granted Samsung’s motion to

     strike on the ground that “it is too late in mid-December with the [] fact discovery closing on the

     22nd of December [for Netlist] to bring in” the relevant documents. Ex. 4 at 57:21-23. However,

     as detailed in Netlist’s opening brief, this case is still at an early stage and fact discovery does not

     close until November 13, 2023, which is eleven months after Netlist notified Samsung of its intent

     to add the ’608 patent. Dkt. 62, at 8. Thus, Samsung’s argument regarding prejudice is unfounded.

     III.    Netlist Properly Sought Leave to Amend and Good Cause Exists

             While the DCO requires Netlist to seek leave to assert additional patents, it does not

     provide that Rule 16 good-cause standard automatically applies as Samsung argues. See Dkt. 55 at

     4 (“It is not necessary to seek leave of Court to amend pleadings prior to this deadline unless the

     amendment seeks to assert additional patents.”); cf. Opp. at 17.

             Netlist did not assert the ’608 patent at the commencement of this Action because of the

     pending Micron IPR petition. See IPR2022-237. After the USTPO denied the petition and

     Micron’s request for rehearing, Netlist immediately conducted its infringement investigation and

     promptly moved to add the ’608 patent here. Netlist also agreed to extend Samsung’s deadline

     to file its invalidity contentions to April 13, 2023, Dkt. 70, and has already provided Samsung

     with its supplemental PICs for the ’608 patent on February 7, to ensure no prejudice. Samsung’s

     concern of Netlist’s “double recovery” and the potential prejudice as a result of “duplicative

     litigation” are premised on its unsupported assertion that the ’608 and ’506 patents are essentially

     identical—which is not true and at best a factual dispute that should be adjudicated by the jury,

     instead of at the motion for leave to amend stage.

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     Dated: February 24, 2023                      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

            I hereby certify that, on February 24, 2023, a copy of the foregoing was served to all
     counsel of record.

                                                         /s/ Jason G. Sheasby
                                                         Jason G. Sheasby

               CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL


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          I hereby certify that the foregoing document and exhibits attached hereto are authorized

   to be filed under seal pursuant to the Protective Order entered in this Case.

                                                          /s/ Jason G. Sheasby
                                                          Jason G. Sheasby




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